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C18-0834                          RJL/cmw                May 2, 2018


                      UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF OHIO
                        EASTERN DIVISION – COLUMBUS


 IN RE:                              )   CASE NO. 18-50708
                                     )
 Brian J. Halenar                    )   CHAPTER 13
 Katie A. Halenar                    )
                                     )   JUDGE C. Kathryn Preston
 Debtors                             )
                                     )   MOTION OF AMERICREDIT FINANCIAL
                                     )   SERVICES, INC. DBA GM FINANCIAL
                                     )   FOR LEAVE TO OBJECT TO
                                     )   CONFIRMATION OF CHAPTER 13 PLAN,
                                     )   INSTANTER



      Now   comes    AmeriCredit         Financial    Services,   Inc.   dba   GM

Financial, (“Creditor”) by and through its attorney and hereby

moves this Court for an Order granting Creditor’s leave to Object

to Confirmation of Chapter 13 Plan, Instanter, and further in

support thereof states as follows:

      1. Creditor has a security interest in a 2011 Honda Odyssey

VIN# 5FNRL5H43BB053136.

      2. The Chapter 13 Plan does not provide proper treatment to

the Creditor.

      3. Creditor is requesting leave of this Honorable Court to

file an Objection to Confirmation of Chapter 13 Plan.
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      WHEREFORE,      Creditor     requests    that   the   within    Motion    be

granted; that this Court enter an Order allowing Creditor to file

its objection to Confirmation of Chapter 13 Plan, Instanter.


                     Respectfully submitted,



                /s/ Richard J. LaCivita
                Reimer Law Co.
                BY: Richard J. LaCivita #0072368
                BY: Cynthia A. Jeffrey #0062718
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                               CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing Motion was
served (i) electronically on date of filing through the court’s
ECF System on all ECF participants registered in this case at the
email registered with the court (ii) ordinary U.S. mail, on May
2, 2018 addressed to:

1.    Brian J. Halenar
      Katie A. Halenar, Debtors
      9270 Huggins Ln.
      Reynoldsburg, OH 43068




             /s/ Richard J. LaCivita
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             BY: Cynthia A. Jeffrey #0062718
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